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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                     AT LOUISVILLE


UNITED STATES OF AMERICA                                                                PLAINTIFF


V.                                                         CRIMINAL ACTION NO 3:20-lvU-603


CURTIS LEE BRADLEY                                                                     DEFENDANT


                     AGREED ORDER REGARDING SPEEDY TRIAL
                                       *Electro11ical{v Filed*

        THIS MATTER having come before the Court on the joint agreement of the parties. by

and through its counsel, and the Comt having foll!ld that entering ru1 agreed order regarding speedy

trial is appropriate. filld for good cause shown. the Cotut hereby finds as follows:

1.      The government filed a complaint in this case on August 24. 2020, ru1d th.is Comt issued

an filTest Wfilrnnt on the same date. Defendfilll. who was in state custody based on state charges.

was brought into federal custody on December 14. 2020 by virtue of a Writ of Habeas Corpus Ad

Proseq11e11d11111, filld first appeared before this Com1 on December 14. 2020. Defendant was

ordered detained on December 16. 2020. The Speedy Tiial Act. 18 U.S.C. § 3161. ordinaiily

would require that fill indictment or infonnation charging the defendfilll with the commission of fill

offense must be filed within thuty days from the date on which the defendaJJt was anested. 18

U.S.C. § 3 l6l(b). Ftuther, undernom1al circumstfil1ces, 18 U.S.C. § 3164(b) requires thatthe trial

of any person who is detained solely because he or she is awaiting trial must c01muence 110 later

than 90 days followu1g the begi1mrng of such continuous detention.

2.      On November 3. 2020, ChiefJudge Greg N. Stivers issued General Order No. 20-23 h1 Re:

Comt Operations Related to COVID-19. which included a directive stating that "[a]ll grand jury
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proceedings are continued through December 31. 2020." (Gen. Order 20-23, ".i 5). The Order noted

that new grand jm·ies would not be impaneled in the Bowling Green and Louisville divisions in

December as previously scheduled, as "impaneling new grand jmors cannot be done without

seriously jeopardizing public health and safety. including the health and safety of the prospective

grand jurors, counsel, and Cotnt staff." Id.

3.      On December 4, 2020. Chief Judge Greg N. Stivers issued General Order No. 20-25 In Re:

Sixth Supplemental Order Concerning Comt Operations related to COVID-19. The Order farther

continued grandjmy proceedings stating that "[a]ll grandjmy proceedings are continued through

Febrnfily 26. 2021." (Gen. Order 20-25,    ~   4). As a result of this Order. the next scheduled date

for an impaneled filld sitting grand jmy in the Western Distiict of Kentucky is March 9. 2021.

when the grand jmy for the Paducah division is scheduled to be in session.

4.      No grfilld juries have met in the Western Disti·ict ofKenh1cky since the issuance of General

Order 20-23. The Speedy Trial Act automatically provides for fill additional thirty days to seek fill

indictment "in a district in which no grand jury has been in session during such thirty-day period."

18 U.S.C. § 3!6l(b).

5.      For these reasons, the ends-of-justice fil·e served by continuing the thitty-day stah1t01y

Speedy Trial Clock set forth in 18 U.S.C. § 316l(b), resetting the thirty-day period to begin anew

on the date that this Comt permits grfil1d juries in the Western District of Kentucky to resume

meetit1g and proceed generally. it1 the nomial comse. as co1111mmicated through a new General

Order, filld excluding the period oftinie between the date on which the defendant was filJested filld

the date on which this Comt first permits grand juries in the Western Distiict of Kenh1ck-y to

resume meeting and proceed generally, for all Speedy Trial Act pmposes. Further. given the
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foregoing. doing so outweighs the best interest of the public and defendant in a speedy indictment

and speedy t1ial.

6.       Failure to grant the requested continuance continuing the thirty-day statuto1y Speedy Trial

clock would require to the Comt to dismiss any complaint for which an infonuation or indictment

has not been filed within 18 U.S.C. § 316l(b)'s required thiity-day ti.Jue limit, either with or

without prejudice. 18 U.S.C. § 3162(a)(l). which may result in a miscaniage of justice.

7.       Failure to continue this case is also likely to put government counsel. witnesses. grand

jurors. and Comt personnel at unnecessruy risk.

8.       The contiimru1ce is not based on congestion of the Comt's calendar. lack of diligent

prepru·ation on the pa!1 of the attorney for the government. or failure on the pait of the attorney for

the United States to obtaiI1 available witnesses.

9.       Undersigned co\lllsel for the Defendru1t affmns that he has discussed the contents of th.is

Order with his client and that his client agrees and consents to all provisions of this Agreed Order.

THEREFORE, FOR GOOD CAUSE SHOWN:

1.       The thi1ty-day statut01y Speedy Trial Clock set fmth iI1 18 U.S.C. § 316l(b). which was

originally set to expire on Januaiy 13, 2021, is hereby continued until thi1ty days after the date on

which this Comt pennits grand juries in the Western District ofKentt1cky to resume meeting and

proceed generally. in the nonnal course. based on the Comt's assessment of the public-health

concerns raised by the coronaviius (COVID-19) and communicated tln·ough a new General Order.

2.      Pursuai1t to 18 U.S.C. §§ 316l(h)(7)(A). (h)(7)(B)(i). and (h)(7)(B)(iii). the tin1e pe1iod of

December 14. 2020. to the date that this Comt pennits grand juries in the Western District of

Kentt1d..-y to resume meeting and proceed generally, in the nonnal course. communicated through

a new General Order. inclusive. is hereby excluded in computing the time for all Speedy Trial Act
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purposes, including but not limited to the time within which an indictment or infonnation must be

filed (18 U.S.C. § 316l(b)) and for calculating the 90-day time period for beginning. trial for a

defendant who is detained solely because he is awaiting trial (18 U.S.C. § 3164(b)).

3.       othing. in this Order shall preclude a finding that other provisions of the Speedy Trial .--\ct

dictate that additional ti.me periods are excluded from the period within which an indictment or

infomiatiou must be flied or a trial must commence. Moreover.
                                                    I         the same provisions ancl/or other

provisions of the Speedy Trial Act may in the future authorize the exclusion of additional time

periods from the period with.in which indictment or information must be filed or a trial must

commence.



HAVE SEE A D AGREED TO:

RUSSELL M. COLEMAN
United States Attorney

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Clu·istopher C. Ti.eke
Stephanie M.I Zirndahl
Assistant U.S. Attorneys




                                                          January 4, 2021
